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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,
                                               Criminal No. 21-cr-626
           v.
                                               DEFENDANT GUNBY’S MOTION TO
                                               DISMISS ON FIRST AMENDMENT
  DEREK COOPER GUNBY,
                                               GROUNDS
                       Defendant.


COMES NOW Defendant Derek Cooper Gunby (“Gunby”), by and through

undersigned counsel John Pierce, with this Motion to dismiss the information in this

case, on grounds that the charges violate the First Amendment both facially and as

applied.

      The information in this case chills the free speech, advocacy rights and

petitioning rights of every American, in violation of the First Amendment.

                                    BACKGROUND

      Gunby is charged by information with four misdemeanor counts: a violation

of 18 U.S.C. § 1752(a)(1) (Entering and Remaining in a Restricted Building or

Grounds), a violation of 40 U.S.C. § 5104(e)(2)(G) (Parading, Demonstrating, or

Picketing in a Capitol Building), and a violation of 18 U.S.C. § 1752(a)(2)

(Disorderly and Disruptive Conduct in a Restricted Building or Grounds), and a

violation of 40 U.S.C. § 5 l 04(e)(2)(D) (Violent Entry and Disorderly Conduct on

Capitol Grounds).
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      Each allegation is aimed wholly at Gunby’s alleged petitioning for redress of

grievances at the U.S. Capitol on Jan. 6; and at chilling expression and petitioning

others who may come after.

       The Statement of Facts in Gunby’s case (ECF 1) states that:


       “On or about January 13, 2021, the Columbia, South Carolina Field
       Office of the FBI received information that DEREK GUNBY had
       posted photos and a video to Facebook indicating that he had been
       involved in the riot at the Capitol building.”
The Statement of Facts then describes details of Gunby’s alleged

protestations, expressions of grievances, and remarks about politics, the

direction of America and the 2020 presidential election on social media.

Then the Statement of Facts described the FBI’s investigation of Gunby:

       “Law enforcement also reviewed and collected video provided by
       the U.S. Capitol Police, which includes security camera footage
       inside and outside of the U.S. Capitol building. While reviewing
       this video footage, your affiant observed an individual who appears
       to be DEREK GUNBY walking up and down a hallway inside the
       Capitol building. DEREK GUNBY is wearing the same frayed
       camouflage baseball cap, military issued coat, dark-frame glasses,
       American flag bandana around his neck, and red backpack that is
       seen in the photos shown above. In the videos, DEREK GUNBY is
       also seen talking on a cell phone and holding up his cell phone to
       take photos or videos. Screenshots of the video are shown below.
Page 7 (emphasis added).
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      Thereafter the Statement of Facts provides several photos of crowds

inside the Capitol, with red circles drawn around a man alleged to be

Gunby. Then, on page 8:

       On or about February 1, 2021, your affiant [John Dyas, FBI officer]
       went to DEREK GUNBY’s address in Anderson, South Carolina to
       conduct an interview of DEREK GUNBY. DEREK GUNBY
       provided a voluntary statement to your affiant. He stated that he
       went to Washington, D.C. on January 6, 2021 to listen to President
       Trump speak. He stated that after the President spoke, DEREK
       GUNBY followed the crowd that was moving toward the Capitol to
       protest the “stealing of the election.” Your affiant asked DEREK
       GUNBY if he went inside the Capitol, to which DEREK GUNBY
       replied that he did. DEREK GUNBY stated to your affiant that
       there was no one stopping him from going in, so he went in and
       walked around.
                          *     *     *      *
       Based on the aforementioned evidence, there is probable cause to
       believe that DEREK GUNBY was present inside the U.S. Capitol
       building during the riot and related offenses that occurred at the
       U.S. Capitol building. located at l First Street, NW, Washington.
       D.C. 20510 on January 6, 2021 and participated in the obstruction
       of the Congressional proceedings.


      Each of the allegations focus on Gunby’s alleged presence in Washington,

D.C. on Jan. 6, 2021, mere presence in the Capitol, and on Gunby’s alleged

grievances posted on social media. None of the counts alleges any violent,

harmful, hurtful, deceptive, or traditionally criminal conduct which might be

divorced from Gunby’s mere peaceful political advocacy. Indeed, the charging

instruments fail to offer any suggestion that Gunby’s statement that “there was no
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one stopping him from going in, so he went in and walked around” was untrue or

not the whole truth.

      According to well-settled law, Gunby’s information must be dismissed, as

the charges are aimed at chilling Gunby’s (and millions of others’) First

Amendment protected rights.

                                 INTRODUCTION
      Given that some 800 separate Jan. 6 defendants are charged with these

above-mentioned statutes, one might think that these statutes’ constitutionality is

settled. But previous courts considering protest restrictions at the U.S. Capitol

have struck them down (at least, as applied in similar situations), and no higher

court has ever found the total bans described in 40 U.S.C. Section

5104(e)(2)(G))(imposing a total ban on parading, demonstrating, or picketing in a

Capitol Building) to be consistent with the First Amendment.

      Of all the places in America, the U.S. Capitol must be the most accessible to

the citizenry. Conversely, the Capitol is perhaps the place in America where

government has the least authority to restrict citizen presence, petitioning,

demonstrating, and activism. The First Amendment explicitly states that

“Congress shall make no law” restricting free speech, peaceably assembling or

interfering with the right to petition government for redress of grievances. Thus,

Congress is subject to the control and correction of the public according to the
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plain text of the Constitution. See, e.g., Lederman v. United States, 291 F.3d 36

(DC Cir. 2002) (striking down a regulation banning leafleting and other

“demonstration activities” on the sidewalk at the foot of the House and Senate

steps on the East Front of the Capitol). The Lederman Court found that sidewalks

around the Capitol are a public forum, and that a regulation banning leafleting and

other “demonstration activities” at the foot of the House and Senate steps on the

east side of the Capitol is unconstitutional.

       In Count One, Gunby is accused of “knowingly enter[ing] and remain[ing]

in the United States Capitol, a restricted building, without lawful authority to do

so, in violation of 18 U.S.C. § 1752(a)(1)).” But there is no law of Congress which

makes the Capitol a restricted building. (Nor could Congress lawfully restrict the

Capitol in such a way, as they have no constitutional authority to “make [any] law .

. . abridging   the freedom of speech, . . . or the right of the people peaceably to

assemble, and to petition the Government for a redress of grievances.”) Section

1752(a) does not proclaim that the Capitol is a “restricted” building.

       In fact, generally speaking, the Capitol is open to the public during normal

business hours. Prior to January 6, the official website explicitly informed visitors

that “The Capitol Visitor Center, the main entrance to the U.S. Capitol, is located

beneath the East Front plaza . . . . The Capitol Visitor Center is open to visitors

from 8:30 a.m. to 4:30 p.m. Monday through Saturday . . .”
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      It is simply not possible for the government to lawfully convict Gunby of

“enter[ing] and remain[ing] in the United States Capitol, a restricted building,

without lawful authority to do so,” when (a) the Capitol’s official signage and

websites proclaim the building is open to the public, and (b) Gunby has a

constitutional right, under the 1st amendment, to monitor, watch, advocate, petition,

and protest regarding the work of representatives and officials inside the building.

      Indeed, it can be argued that Gunby has a civic duty to monitor, observe,

watch, and (try to) influence the goings-on inside the Capitol.

      Although Gunby’s right and duty to watch and monitor doings inside the

Capitol may be subject to reasonable time, place, and manner restrictions, the

government cannot prevent Gunby from exercising his constitutional rights and

duties. Gunby’s right to enter the Capitol is not subject to the permission, will, or

discretion of the government. Cf., inter alia, Turner Broad. Sys., Inc. v. FCC, 512

U.S. 622 (1994); Ward v. Rock Against Racism, 491 U.S. 781 (1989); Weinberg v.

City of Chicago, 310 F.3d 1029 (7th Cir. 2002); Bay Area Peace Navy v. United

States, 914 F.2d 1224 (9th Cir. 1990); A Quaker Action Group v. Hickel, 137 U.S.

App. D.C. 176, 421 F.2d 1111 (D.C. Dir. 1969)).
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      Given these principles, the allegations against Gunby do not state offenses

under federal law upon which any relief can be granted; and must be dismissed

pursuant to Rule 12(b) of the Federal Rules of Criminal Procedure.

    THE INFORMATION VIOLATES GUNBY’S 1ST AMENDMENT
RIGHTS TO PARADE, DEMONSTRATE AND PICKET AT THE CAPITOL
      Parading, demonstrating and picketing for redress of grievances is the

birthright of every American. ‘[D]emonstrate’ has been defined by the Supreme

Court as “to make a public display of sentiment for or against a person or cause”

and “picket” as an effort “to persuade or otherwise influence”). Hill v. Colo., 530

U.S. 703, 721-22 (2000) (quoting Webster's Third New International Dictionary).

The no-demonstration and no-picketing zone established by 40 U.S.C. §

5104(e)(2)(G)) in the entirety of a 1.5-million-square-foot building is the largest

infringement on basic 1st amendment rights ever imposed anywhere in the United

States.

      The complaint and information against Gunby is aimed at chilling Gunby’s

(and millions of others)’ right to petition and speak against perceived government

abuses at the Capitol. The government seeks to insulate congressional

representatives, staff, officials and attendees from receiving the messages of

Gunby and other protestors and petitioners. Such efforts by the government are
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undeniably unconstitutional. See, e.g., Gresham v. Peterson, 225 F.3d 899 (7th Cir.

2000)).

      Under the 1st amendment, “free speech zones” are presumptively invalid

everywhere. However, there are a tiny few temporary instances and secure spaces

where courts have allowed limited restrictions on picketing and demonstration.

Never, however, has any court allowed the government to silence and censor all

petitioning and protesting in such a vast radius as the government seeks here.

       A number of cases have recognized that certain officials or facilities are so

highly-sensitive or protected that protestors can be confined to “free speech zones”

at a given distance away. How far away, exactly? In Madsen v. Women's Health

Ctr., 512 U.S. 753 (1994), the Supreme Court determined that a 300-foot buffer

between protesters and the entrance to an abortion clinic was too great a restriction

on speech, however, a thirty-six-foot buffer was acceptable. Id. at 771. The Court

reasoned that “citizens must tolerate insulting, and even outrageous, speech in

order to provide adequate breathing space to freedoms protected by the First

Amendment.” Id. at 774.

      The late Judge Larry McKinney of the U.S. Southern District of Indiana

dealt with a similar case involving a protestor who picketed a speech by Vice

President Dick Cheney in 2002. Blair v. City of Evansville, 361 F. Supp. 2d 846
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(S.D.In. 2005). Blair was arrested for “disorderly conduct” while merely holding a

sign that stated “Cheney 19th Century Energy Man” at an event in Evansville,

Indiana. Blair later sued arresting officers, and the court held that “the restriction

of protesters to an area 500 feet away from the only entrance used by attendees,

and on the opposite end of the building from where Vice President Cheney would

enter the facility and from where the majority of people attending the event would

park, burdened speech substantially more than was necessary to further the

[government’s] goals of safety.”

      Even more than in Blair, the expansive speech and picketing restrictions

here (effectively the entire 1.5 million square foot Capitol complex) are massively

overexpansive and not narrowly tailored to serve a significant government interest.

See United States v. Albertini, 472 U.S. 675, 689 (1985)). While the vice president

and Congress can and should be properly protected from danger, the 1st

amendment requires that the vice president and Congress cannot be entirely

insulated from picketing and advocacy.

      Judge McKinney found that the restriction of protesters to an area 500 feet

away from the only entrance used by attendees, and on the opposite end of the

building from where Vice President Cheney would enter the facility and from

where the majority of people attending the event would park, burdened speech

substantially more than was necessary to further the goals of safety.
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              Furthermore, other cases that have looked at restrictions on
       access to public buildings similar to the Centre have found a
       violation of the First Amendment on more narrow restrictions. See,
       e.g.,Kuba v. 1-A Agr. Ass'n, 387 F.3d 850, 861-62 (9th Cir. 2004)
       (200 and 265 feet security zones found over broad); Bay Area
       Peace Navy v. United States, 914 F.2d 1224, 1229 (9th Cir. 1990)
       (seventy-five yard security zone found over broad because it
       prevented demonstration from reaching intended audience); but see
       Madsen, 512 U.S. at 771 (holding that a thirty-six-foot buffer zone
       on public property was narrow enough).
Blair, 361 F. Supp. 2d at 858.

      Similarly to the 1,000-foot ban in Weinberg v. City of Chicago, 310 F.3d

1029, 1040 (7th Cir. 2002), Judge McKinney found that the location of the protest

zone in Blair “eliminated any meaningful avenue for the communication of ideas

by the protestors to at least one intended audience, the attendees.”

      Note that the government here is asserting that the entire U.S. Capitol—one

of the largest public buildings in the United States—is a no free speech and no

picketing zone. According to the Architect of the U.S. Capitol:

             As the nation has grown so has the U.S. Capitol : today it
       covers well over 1.5 million square feet, has over 600 rooms,
       and miles of corridors.
                                 *    *      *     *
             Today, the U.S. Capitol covers a ground area of 175,170
       square feet, or about 4 acres, and has a floor area of
       approximately 16-1/2 acres. Its length, from north to south, is
       751 feet 4 inches; its greatest width, including approaches, is
       350 feet. Its height above the base line on the east front to the
       top of the Statue of Freedom is 288 feet.
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Architect of the Capitol, “The U.S. Capitol Building,”

(https://www.aoc.gov/explore-capitol-campus/buildings-grounds/capitol-building)

(accessed 8/14/2022).

       Significantly, some federal courts have already held that the West Front

Lawn is a traditional public forum where demonstrations must be allowed. See

also, e.g., Lederman, 291 F.3d at 44. In Lederman, the D.C. Circuit declared

facially unconstitutional a “regulation banning leafleting and other 'demonstration

activit[ies]' on the sidewalk at the foot of the House and Senate steps on the East

Front of the United States Capitol.” 291 F.3d at 39 (alterations in original). In

finding that the law at issue in Lederman failed the narrow-tailoring analysis, the

Court of Appeals cautioned that "the Constitution does not tolerate 'regulations

that, while serving their purported aims, prohibit a wide range of activities that do

not interfere with the Government's objectives.’” Id. at 44 (quoting Cmty. for

Creative Non-Violence v. Kerrigan (CCNV), 865 F.2d 382, 390 (D.C. Cir. 1989)).

Applying that principle, the panel concluded that the "ban's absolute nature"

rendered the regulation not narrowly tailored, as “[s]ome banned activities"

"cannot possibly" interfere "with the stated objectives of traffic control and safety.”

Id. at 45.
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                                  CONCLUSION

      40 U.S.C. § 5104(e)(2)(G), which forbids “willfully and knowingly

parad[ing], demonstrate[ing], or picket[ing] in any of the Capitol Buildings” is

unconstitutional both on its face and as applied to the alleged conduct of defendant

Gunby. Gunby is accused of nothing more than walking into the Capitol during

normal business hours as part of a demonstration of expression regarding the

fairness of the 2020 presidential election. Gunby has a 1st amendment right to

express his opinions and petition government for redress of grievances in such a

manner.

      For all the above described reasons, the indictment in this case must be

dismissed.
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CERTIFICATE OF ELECTRONIC SERVICE
I hereby certify and attest that on October 7, 2022, I caused this document to be
uploaded and filed in this case, using the electronic filing system established by the
Court. By doing so, I automatically served the document to counsel for the United
States.


                                       /s/ John M. Pierce
                                       John M. Pierce
